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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
IN RE:                                                           Chapter 11

ABR BUILDERS LLC,                                                Case No. 19-11041 (SHL)

                                             Debtor.
-------------------------------------------------------------X

                                     NOTICE OF MOTION FOR
                                HEARING ON DISCLOSURE STATEMENT


          PLEASE TAKE NOTICE that upon the annexed Application of the above Debtor the

undersigned shall move on November 21, 2019 at 11:00 a.m. in the forenoon before the Honorable

Sean H. Lane, United States Bankruptcy Judge in his Courtroom, United States Bankruptcy Court,

Old Customs House, One Bowling Green, New York, New York 10004 for an Order (1) scheduling

hearing on Disclosure Statement, (2) approving form of Ballot attached to the Disclosure

Statement and (3) fixing the date for objections to the Disclosure Statement and for such other and

further relief as is proper.

          PLEASE TAKE FURTHER NOTICE that copies of the Plan and Disclosure Statement

are on file in the Clerk’s Office of the United States Bankruptcy Court, Old Customs House, One

Bowling Green, New York, New York 10004 and may be examined there or upon written request

made upon the Debtor’s attorney, Leo Fox, Esq., 630 Third Avenue, 18th Floor, New York, New

York 10017.
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       PLEASE TAKE FURTHER NOTICE that any objection to the Motion must be in writing,

must set forth in detail the grounds and facts of such objection and the legal basis therefore, must

be filed with the Clerk of the Bankruptcy Court, Old Customs House, One Bowling Green, New

York, New York by registered users of the Bankruptcy Court’s case filing system and, by all other

parties in interest, preferably in Portable Document Format (PDF), WordPerfect, or any other

Windows-based word processing format (with a hard copy delivered directly to Chambers) and

served so as to be received by (1) Leo Fox, Esq., as counsel to Debtor, 630 Third Avenue, 18th

Floor, New York, New York 10017 and (2) The Office of the United States Trustee for the

Southern District of New York, 201 Varick Street, Suite 1006, New York, New York 10014, on

or before seven (7) days before the scheduled Hearing Date herein (the “Objections Deadline”).

Dated: New York, New York
       October 3, 2018

                                              Yours etc.,

                                              ABR BUILDERS LLC

                                              By:    /s/ Leo Fox_________________
                                                     Leo Fox, Esq. (LF-1947)
                                                     Attorney for the Debtor
                                                     630 Third Avenue, 18th Floor
                                                     New York, New York 10017
                                                     (212) 867-9595
